                           3:19-cv-03195-CSB # 80           Page 1 of 4
                                                                                                      E-FILED
                                                                 Monday, 26 September, 2022 03:26:03 PM
                                                                             Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF ILLINOIS

DWIGHT LONG,                                      )
                                                  )
         Plaintiff,                               )
                                                  )
         v.                                       )          No. 19-CV-3195
                                                  )          Honorable Judge Colin S. Bruce
TERRY MARTIN.                                     )
                                                  )
         Defendant.                               )


              PLAINTIFF’S MOTION FOR LEAVE TO RE-OPEN DISCOVERY

         NOW COMES Plaintiff Dwight Long, hereinafter referred to by Plaintiff, his attorneys,

Sara Trevino and Christopher Bailey, hereby file this Motion for Leave to Re-Open Discovery

and in support states:

    1. On August 13, 2019, Plaintiff filed his Original Complaint.

    2. Discovery is currently closed in this cause.

    3. Plaintiff is incarcerated and was acting pro se in this cause until the court appointment of

Sara Trevino and Christopher Bailey on August 22, 2022.

    4. Plaintiff was significantly disadvantaged in his ability to conduct meaningful discovery

and to this date has been unable to depose the Defendant.

    5. Plaintiff’s prior status as an inmate at Graham Correctional Center and current status as

an inmate at Pinckneyville Correctional Center restricted his ability to conduct said depositions

from a logistical and financial standpoint.

    6. Plaintiff seeks to re-open discovery in this cause given that representation by counsel will

allow him to properly investigate the facts for proper preparation and presentation of the case at

trial.




                                                 1
                           3:19-cv-03195-CSB # 80           Page 2 of 4




   7. Plaintiff will be significantly prejudiced and disadvantaged if discovery is not re-opened,

because his recently appointed counsel will be placed in the difficult position of cross-examining

witnesses with limited knowledge of the facts and substance of their testimony and reliability

thereof.

   8. In the interest of justice, Plaintiff prays that the Court grant him leave to re-open

discovery for the limited purpose of obtaining:

     (a)   The depositions of Defendant Martin, any expert witness disclosed by the Defendant
           and one other defense witness to be selected once defense witnesses have been
           identified

     (b)   Transcripts of any and all depositions taken in this cause of action to this date, not
           already provided;

     (c)   The identity of all persons with knowledge or information relating to the allegations
           in the Complaint;

     (d)   The names and addresses of the individuals the Defendant may use to support or
           defend his position during trial, even if said individuals will not ultimately testify at
           trial;

     (e)   Written policies and procedures of Graham Correctional Center, including but not
           limited to Handbooks and Codes of Conduct, concerning the use of force;

     (f)   Written policies of the Graham Correctional Center concerning inmate requests for
           medical treatment;

     (g)   Written policies and procedures of Graham Correctional Center and associated
           entities, including but not limited to healthcare providers, related to the treatment,
           care, or handling of inmates seeking or receiving medical attention;

     (h)   Any other documents which were circulated between the parties as part of discovery
           or disclosures prior to the undersigned entering their appearance as Plaintiff’s
           counsel;

     (i)   Any and all incident and investigation reports produced in the investigation of
           Plaintiff’s allegations or in preparation for the trial of this matter;

     (j)   Any and all documents concerning Defendant’s disciplinary history at Graham
           Correctional Center, including but not limited to disciplinary reports, suspensions,
           and ethical violations;



                                                  2
                            3:19-cv-03195-CSB # 80           Page 3 of 4




     (k)     Any video or photographs concerning the incident;

     (l)     Copies of any documents or exhibits which may be used at trial;

     (m) The name of the custodian of records for any and all documents that may be admitted
         or used at trial;

     (n)     All mandatory disclosures under Federal Rule of Civil Procedure 26, including but
             not limited to, the identification of any relevant witnesses and identification and
             production of relevant documents.

   9. Plaintiff brings this motion before having the opportunity to fully investigate the case

facts and may file a supplemental motion in the event additional items are needed for reasonable

discovery.

       WHEREFORE, for the above and foregoing reasons, Plaintiff respectfully requests this

Court grant this Motion to Re-open Discovery and grant any additional relief this Court deems

just and reasonable.


                                                     Respectfully Submitted,

                                                     Dwight Long

                                                     By: /s/ Sara Trevino

                                                     By: /s/ Christopher Bailey

                                                        Attorneys for Dwight Long
                                                        Sara M. Trevino
                                                        Christopher Bailey
                                                        University of Illinois College of Law
                                                        Federal Civil Rights Clinic
                                                        504 E. Pennsylvania Avenue
                                                        Champaign, Illinois 61820
                                                        saramt3@illinois.edu
                                                        cab12@illinois.edu




                                                 3
                          3:19-cv-03195-CSB # 80              Page 4 of 4




                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

DWIGHT LONG,                                      )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )             No. 19-CV-3195
                                                  )
TERRY MARTIN.                                     )
                                                  )
       Defendant.                                 )


                               CERTIFICATE OF SERVICE

       I hereby certify that on September 26, 2022, I filed an electronic copy of the foregoing

PLAINTIFF’S MOTION FOR LEAVE TO RE-OPEN DISCOVERY through the CM/ECF

system at the address of Defendant’s attorneys below:

Remy Taborga
Assistant Attorney General, Prisoner Litigation
Office of the Illinois Attorney General
1776 East Washington Street
Urbana, Illinois 61802
Office: (217) 278-3332
Cell: (217) 843-0345
Email: alan.taborga@ilag.gov
                                                      Respectfully Submitted,

                                                      By: /s/ Sara Trevino

                                                      By: /s/ Christopher Bailey

                                                         Attorneys for Dwight Long
                                                         Sara M. Trevino
                                                         Christopher Bailey
                                                         University of Illinois College of Law
                                                         Federal Civil Rights Clinic
                                                         504 E. Pennsylvania Avenue
                                                         Champaign, Illinois 61820
                                                         saramt3@illinois.edu
                                                         cab12@illinois.edu




                                                  4
